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 8                                      UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   CLARENCE BELL, et al.,                              2:22-cv-01687-TLN-CKD (PS)

12                        Plaintiffs,                    ORDER TO SHOW CAUSE

13            v.
14   SOLANO COUNTY DEPARTMENT OF
     HEALTH AND HUMAN SERVICES, et
15   al.,
16                        Defendants.
17

18            Plaintiffs, proceeding without the assistance of counsel, filed the instant action, paid the

19   filing fee, and were given a summons and initial scheduling order by the Clerk of Court. 1 (See

20   ECF Nos. 1, 2, 3.) The scheduling order required plaintiffs to serve defendants within 90 days,

21   and by 10 days after that, “file with the Clerk a certificate reflecting such service.” (See ECF No.

22   3 at ¶ 2.) This is also required by Rule 4 of the Federal Rules of Civil Procedure:

23                    If a defendant is not served within 90 days after the complaint is
                      filed, the court—on motion or on its own after notice to the
24                    plaintiff—must dismiss the action without prejudice against that
                      defendant or order that service be made within a specified time.
25                    But if the plaintiff shows good cause for the failure, the court must
                      extend the time for service for an appropriate period.
26

27   Fed. R. Civ. P. 4(m). Despite the deadline, the record does not reflect that plaintiffs have

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         As such, this matter was referred to the undersigned under Local Rule 302(c)(21).
                                                         1
      Case 2:22-cv-01687-TLN-CKD Document 7 Filed 01/31/23 Page 2 of 2


 1   attempted service on defendants. Thus, plaintiffs’ complaint is on the verge of being dismissed.

 2              Accordingly, IT IS HEREBY ORDERED that:

 3              1. Within 14 days of this order, plaintiffs shall file a statement with the court indicating

 4                   the status of service, or any good cause reasons why defendants have not been served

 5                   pursuant to Federal Rule of Civil Procedure 4; and

 6              2. Failure to respond to this order, or failure to show good cause for the lack of service of

 7                   process, will result in dismissal of plaintiffs’ case without prejudice.

 8   Dated: January 31, 2023
                                                           _____________________________________
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                                                           CAROLYN K. DELANEY
10                                                         UNITED STATES MAGISTRATE JUDGE

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